          UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MARYLAND
                                       GREENBELT DIVISION




BRITTNEY FELDER,                                      *

               Plaintiff,                             *

vs.                                                   *        Civil Action No. PJM-18-03405

MGM NATIONAL HARBOR, LLC, et al,                      *

               Defendants.                            *



                                ATTESTATION OF COMPLIANCE TO

                            THE HONORABLE GINA L. SIMMS’ ORDER

      Pro Se Plaintiff Brittney Felder (“Felder” or “Plaintiff”) submits this Attestation of

Compliance pursuant to The Honorable Gina L. Simms, United States Magistrate Judge’s Order

that was dated the 03rd day of March, 2023, in which Judge Simms orders both Parties to “file an

attestation” in which the “Plaintiff and counsel for the Defendant will list their names, and certify

that they have read, understand, and agree to be bound by all of the Federal Rules of Civil

Procedure, and the Local Rules, including the following:

      (a) Fed. R. Civ. P. 11;

      (b) Fed. R. Civ. P. 26(b)(1);

      (c) Fed. R. Civ. P. 26(b)(2)(C)(i)-(iii);

      (d) Fed. R. Civ. P. 26(g)(1)(A), 26(g)(1)(B)(i)-(iii);

      (e) Fed. R. Civ. P. 26(c);

      (f) Fed. R. Civ. P. 31;

      (g) Fed. R. Civ. P. 33;
   (h) Fed. R. Civ. P. 34;

   (i) Fed. R. Civ. P. 37;

   (j) The Advisory Committee notes related to the abovementioned Federal Rules of Civil

       Procedure;

   (k) Local Rules, Appendix A, Guidelines 1, 4, 5, 6, 7, 8, 9, 10;

   (l) Local Rule 104.7;

   (m) Local Rule 104.8.”

   Plaintiff Brittney Felder hereby certifies and attests that she has read, understands, and agrees

to be bound by all of the Federal Rules of Civil Procedure and Local Rules, including all of the

aforementioned rules specifically listed in The Honorable Gina L. Simms, United States

Magistrate Judge’s Order dated March 03, 2023.



                                                              Respectfully submitted,

                      March 08, 2023                         _____________________________

                                                              Brittney Felder
                                                              Plaintiff, Pro Se
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                                                              Seabrook, Maryland 20706
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                                                [2]
                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 08th day of March 2023, the foregoing Attestation of

Compliance to The Honorable Gina L. Simms’ Order and accompanying Affidavit of

Plaintiff Brittney Felder were served upon the Defendants by electronic mail and electronically

via the District Court’s Electronic Document Submission System to the following:

       Jeremy Schneider

       (Jeremy.Schneider@jacksonlewis.com)

       10701 Parkridge Blvd.,

       Suite 300

       Reston, Virginia 20191



       Desiree Langley

       (Desiree.Langley@jacksonlewis.com)

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       Suite 300

       Reston, Virginia 20191




                                                           _____________________________

                                                           Brittney Felder




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